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                                                                                            FILED
                                     UNITED STATES DISTRICT COURT                        AUG 2 0 2020
                                     EASTERN DISTRICT OF MISSOURI                       u s orsTRICT COURT
                                           EASTERN DIVISION                           EASTERN DISTRICT OF MO
                                                                                             ST.LOUIS

      UNITED STATES OF AMERICA,                     )
                                                    )
                              Plaintiff,            )
                                                    )
                     v.                             )
                                                    )         4:20CR418 JAR/NAB
      JAMES TIMOTHY NORMAN,                         )
      TERICA TANEISHA ELLIS, and                    )
      WAIEL ~BHI YAGHNAM,                           )
                                                    )
                              Defendants.           )

                                                  INDICTMENT

      The Grand Jury charges that:
                                              INTRODUCTION

      At all times relevant to this Indictment:

          1. Andre Montgomery was born on October 14, 1994.

         2. Andre Montgomery's paternal uncle was JAMES TIMOTHY NORMAN.

         3. Andre Montgomery's father, the brother of JAMES TIMOTHY NORMAN, died in Los

             Angeles, California in 1994.

         4. Andre Montgomery's Missouri non-driver license indicated that bis height was 5' 11 and

             his weight was 185 pounds.

         5. At no point did Andre Montgomery ever seek or obtain medical treatment at the People's

             Health Center.

         6. In August of 2014, Andre        Montgo~ery      completed a housing application in which he

             indicated that he was employed at a shop called "Tobacco Road," that his hourly wage was

             $7.25, and that in the month of July, he had earned $696.47.

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                                     COUNT I
                    [MURDER FOR IDRE CONSPIRACY: 18 U.S.C. § 19581

    7. Beginning at a time unlmown to the Grand Jury, but up to and including March 14, 2016,

and through the date of this Indictment, within the Eastern District of Missouri and elsewhere,

                               JAMES TIMOTHY NORMAN and
                                 TERICA TANEISHA ELLIS,

together with other persons known and unknown to the Grand Jury, did knowingly and

intentionally combine, conspire, and agree to commit an offense against the United States of

America, to wit, the crime of murder for hire in violation of Title 18, United States Code, Section

1958, by using and causing others to use facilities of interstate commerce, to wit, cellular

teleph~nes,   with the intent that the murder of Andre Montgomery be committed in violation of the

laws of the State of Missouri, as consideration for the receipt of, and as consideration for a promise

and agreement to pay things of pecuniary value, namely money, along with other benefits. Said

conspiracy offense resulted in the death of Andre Montgomery on March 14, 2016.

                                    OBJECT AND PURPOSE

   8. The objects and purposes of the conspiracy were the murder of Andre Montgomery, the

       nephew of JAMES TIMOTHY NORMAN, and the obtaining of money as a result of and

       in exchange for the commission of Andre Montgomery's murder.

                                    MEANS AND METHODS

   9. The means and methods by which the conspiracy Wl!S sought to be accomplished included,

       among other things, the following:

       (a) It was part of the conspiracy that on October 14, 2014, JAMES TIMOTHY

           NORMAN attempted to obtain a $250,000.00 life insurance policy on his 20-year-old

           nephew, Andre Montgomery, for which JAMES TIMOTHY NORMAN was the sole


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       beneficiary, through Americ"o Financial Life and Annuity Insurance Company.        This

       application was later withdrawn.

    (b) It was further part of the conspiracy that on October 31, 2014, JAMES TIMOTHY

       NORMAN attempted to obtain a second life insurance policy on Andre Montgomery

       in the amount of $200,000.00, in addition to an accidental death rider in the amount of

       $200,000.00, and a 10 year-term rider in the amount of $50,000.00, through The

       Independent Order of Foresters (hereinafter "Forester's policy"). JAMES TIMOTHY

       NORMAN was the sole beneficiary on this policy. This is the only poliCy that issued.

    (c) It was further part of the conspiracy that on March 16, 2015, JAMES TIMOTHY

       NORMAN attempted to obtain a replacement policy on Andre Montgomery through

       Royal Neighbors of America in the amount of $249;999.00, but the application was

       denied.

    (d) It was further part of the conspiracy that the applications for all three of these life

       insurance applications on Andre Montgomery contained false information regarding

       Andre Montgomery's income, occupation, and family history.

    (e) It was further part of the conspiracy that, on or about March 10, 2016, TERICA

       TANEISHA ELLIS travelled from Memphis, Tennessee to St. Louis, Missouri.

    (f) It was further part of the conspiracy that JAMES TIMOTHY NORMAN flew from

       Los Angeles, California to St. Louis, Missouri and arrived in St. Louis, Missouri on

       March 14, 2016.

    (g) It was further part of the conspiracy that, on or about March 14, 2016, JAMES

       TIMOTHY NORMAN and TERICA TANEISHA ELLIS purchased pre-paid




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         Tracfone cellular devices at a Walgreens located in the Central West End neighborhood

         of the City of St. Louis.

    (h) It was further part of the conspiracy that JAMES TIMOTHY NORMAN and

         TERICA TANEISHA ELLIS communicated with one another for the duration of

         March 14, 2016 using the newly-purchased, pre-paid cellular devices.

    (i) It was further part of the conspiracy that TERICA TANEISHA ELLIS advised Andre

         Montgomery to initiate all further communication with her on March 14, 2016 using

         her newly-purchased, prepaid cellular device.

    G) It was further part of the conspiracy that TERICA TANEISHA ELLIS communicated
     I
         with Andre Montgomery throughout the day on March 14, 2016 for the purpose of

         determining his whereabouts.

    (k) It was further part of the conspiracy th~t TERICA TANEISHA ELLIS used her pre-

         paid cellular device to communicate Andre Montgomery's locations to JAMES

         TIMOTHY NORMAN and/or other co-conspirators throughout the day on March 14,

         2016.

    (1) It was further part of the conspiracy that, at approximately 7:07 p.m. (CST) on March

         14, 2016, Andre Montgomery texted his location, "3964 natural bridge," to TERICA

         TANEISHA ELLIS on her newly-purchased, pre-paid cellular device.

    (m)It was further part of the conspiracy that immediately upon learning Andre

         Montgomery's location, TERICA TANEISHA ELLIS relayed that address to

         JAMES TIMOTHY NORMAN and/or other co-conspirators.

    (n) It was further part of the conspiracy that TERICA TANEISHA ELLIS met Andre

         Montgomery at 3964 Natural Bridge Avenue, in the City of St. Louis, at approximately



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        8:00 p.m. (CST) on March 14, 2016 for the purpose of luring Andre Montgomery

       outside of the residence.

    (o) It was further part of the conspiracy that a co-conspirator shot and killed Andre

       Montgomery in front of the residence at 3964 Natural Bridge Avenue at approximately

       8:02 p.m. (CST).

    (p) It was further part of the conspiracy that at 8:03 p.m. (CST), TERICA TANEISHA

       ELLIS called JAMES TIMOTHY NORMAN on his newly-purchased, pre-paid

       cellular device, then immediately began driving back to her home in Memphis,

       Tennessee.

    (q) It was further part of the conspiracy that approximately five-and-a-half hours after the

       homicide, in the early morning hours of March 15, 2016, JAMES TIMOTHY

       NORMAN flew back to Los Angeles, California.

    (r) Jt was further part of the conspiracy that on March 15, 2016, JAMES TIMOTHY

       NORMAN and TERICA TANEISHA ELLIS ceased all use of their pre-paid cellular

       devices.

    (s) It was further part of the conspiracy that, between March 15, 2016 and March 17, 2016,

       TERICA TANEISHA ELLIS deposited over $9,000.00 in cash into multiple                b~


       accounts in Memphis, Tennessee.

    (t) It was further part of the conspiracy that on March 18, 2016, WAIEL REBHI

       YAGHNAM and JAMES TIMOTHY NORMAN contacted The Independent Order

       of Foresters for the purpose of inquiring as to how to collect on the afqrementioned

       Foresters :rolicy.




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       (u) It was part of the conspiracy that, on or about March 22, 2016, TERICA TANEISHA

            ELLIS flew to Los Angeles, California and met with JAMES TIMOTHY NORMAN

            during her stay there.

       (v) It was further part of the conspiracy that JAMES TIMOTHY NORMAN continued

            to contact The Independent Order of Foresters on March 21, 2016; August. I, 2016;

            August 15, 2016; August 26, 2016; and November 18, 2016 for the purpose of

            attempting to collect on the aforementioned Foresters policy.

       (w)It was further part of the conspiracy that in September 2018, JAMES TIMOTHY

            NORMAN retained counsel who sent a letter to The Independent Order of Foresters

            demanding that they pay out on the aforementioned Foresters policy.

      '(x) It was further part of the conspiracy that in October 2018, JAMES TIMOTHY

            NORMAN submitted an Affidavit to Tlie Independent Order of Foresters for the

            purpose of collecting on the aforementioned policy.

       In violation of Title 18, United States Code, Section 1958.

                                    COUNT TWO
                           [MURDER FOR IDRE: 18 U.S.C. § 19581

The Grand Jury further charges that:

       On or about March 14, 2016, in the City of St. Louis, within the Eastern District of
                 I

Missouri,

                              JAMES TIMOTHY NORMAN and
                                TERICA T ANEISHA ELLIS,

the defendants herein, used and caused others to use facilities of interstate commerce, to wit,

cellular telephones, with the intent that the murder of Andre Montgomery be committed in

violation of the laws of the State of Missouri, as consideration for the receipt of, and as



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                                                 v-
consideration for a promise and agreement to pay things of pecuniary value, namely money, along

with other benefits. Said offense resulted in the death of Andre Montgomery on March 14, 2016.

       In violation of Title 18, United States Code, Section 1958.

                                            COUNT3
              [WIRE AND MAIL FRAUD CONSPIRACY: 18 U.S.C. § 1349]

   10. The allegations contained in Paragraphs 1-6 are realleged   ~d   incorporated herein.

   11. Beginning in or about October of 2014 and continuing until at least as late as September

       of 2019, in the Eastern District of Missouri and elsewhere, JAMES TIMOTHY
                                       '

       NORMAN and W AIEL REBID YAGHNAM the defendants' herein, did voluntarily and

       int~ntionally   combine, conspire, confederate and agree with each other and others known

      ,and unknown to the Grand Jury, to commit the following offense against the United States:

          (a) Having devised and intended to devise a scheme to obtain money and property by

              means of materially false and fraudulent pretenses and representations and for the

              purpose of executing such scheme, and attempting to do so, did knowingly cause

              and attempt to cause to be transmitted by means of wire communication in interstate

              commerce, writings, signs, and signals in the form of interstate and international

              telephone calls, all in violation of Title 18, Uriited States Code, Section 1343.

          (b) Having devised and intended to devise a scheme to obtain money and property by

              means of materially false and fraudulent pretenses and representations, and for the

              purpose of executing such .scheme, and attempting to cio so, did knowingly cause

              and attempt to cause documents to be sent or delivered by any private or

              commercial interstate carrier, or knowingly cause to be delivered by mail or such

              carrier according to the direction thereon, i:b. violation of Title 18, United States

              Code, Section 1341.


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All in violation of Title 18, United States Code, Section 1349.

                                      MANNER AND MEANS

   12. In furtherance of the conspiracy and to effect the illegal objects thereof, defendants

       JAMES TIMOTHY NORMAN and W AIEL REBID YAGHNAM, and others known

       and unknown to the Grand Jury used the following ways, manner and means, among others,

       to commit wire fraud and mail fraud. .

   13. The primary purpose of the conspiracy was for JAMES TIMOTHY NORMAN, aided

       and abetted by W AIEL REBID YAGHNAM, to obtain and to be able to collect on a life

       insurance policy on his nephew, Andre Mo:o,tgomery, in the event of Andre Montgomery's

       death, by means of false and :fraudulent representations regarding Montgomery's income,

       employment, net worth, medical history, family history, and the existence of other pending
                                                                        I




       life insurance applications.

                      AMERICO LIFE INSURANCE APPLICATION                    )




   14. On October 14, 2014, JAMES TIMOTHY NORMAN and WAIEL REBID

       YAGHNAM caused to be completed and then submitted an application to America

       Financial Life and Annuity Insurance Company (hereinafter "America"), by which

       application JAMES TIMOTHY NORMAN sought a life insurance policy ill the amount

       of $250,000 on his nephew, Andre Montgomery.

   15. On October 14, 2014, JAMES TIMOTHY NORMAN signed the following attestation

       passage in the America life insurance application:

                  Any person who knowingly presents a false or fraudulent claim
                  for payment of a loss or benefit or knowingly presents false
                  information in an application for insurance is guilty of a crime
                  and may be subject to fines and confinement in prison.




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                  We have read this application and represent to America that the
                  statements made on this application are true, complete and
                  correctly recorded to the best of my/our knowledge and belief.
                  I/We agree that America can rely on these statements.

 16. On October 14, 2014, WAIEL REBID YAGHNAM signed the following attestation

    passage in JAMES TIMOTHY NORMAN's America life insurance application, stating

    as follows:

                  I hereby certify that I have personally asked each question on
                  this application to the Proposed Insured(s), that I have tntly and
                  accurately recorded on the application the information supplied
                  by hjm/her, and that I have no reason to believe that any of the
                  information provided is inaccurate or incomplete. If not, I have
                  set forth my reservations in the "Agent Comments/Remarks"
                  section above.

 17. JAMES TIMOTHY NORMAN and WAIEL REBID YAGHNAM indicated in the

    America life insurance application that JAMES TIMOTHY NORMAN would be the sole

    beneficiary on the policy in the event of Andre Montgomery's death.

 18. JAMES TIMOTHY NORMAN and WAIEL REBID YAGHNAM represented in the

    America life insurance application that JAMES TIMOTHY NORMAN would pay the

    monthly premium of $156.04 from his US Bank account******** 7746.

·· 19. JAMES TIMOTHY NORMAN and WAIEL REBID YAGHNAM falsely represented

    in the America life insurance application that Andre Montgomery had an annual income

    of $100,000.00.

 20 . .JAMES TIMOTHY NORMAN and W AIEL REBID YAGHNAM falsely represented

    that Andre Montgomery's height was 5'7 and that his weight was 165 pounds.

 21. JAMES TIMOTHY NORMAN and WAIEL REBID YAGHNAM represented that

    Andre Montgomery was not under the care of a physician.




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  22. Between October 16, 2014 and November 3, 2014, representatives of America repeatedly

     attempted to contact JAMES TIMQTHY NORMAN and W AIEL REBID YAGHNAM·,

     via email and telephone with questions regarding the life insurance application, including

     the reason that Andre Montgomery could not own the life insurance policy, rather than.

     JAMES TIMOTHY NORMAN.

  23. On December 8, 2014, after JAMES TIMOTHY NORMAN had obtained a life insurance

     policy from a separate insurance company, he and W AIEL REBID YAGHNAM

     withdrew the America life insurance application, which was still pending at that time.

                   FORESTERS LIFE INSURANCE APPLICATION

  24. On October 31, 2014, JAMES TIMOTHY NORMAN and WAIEL REBID

     YAGHNAM caused to be completed and then submitted an application to \The

     Independent Order of Foresters (hereinafter "Foresters"), by which application JAMES

     TIMOTHY NORMAN sought a life insurance policy in the amount of $200,,000.00, as

     well as an accidental death rider in the amount of $200,000.00, and a ten-year term rider

     of $50,000.00, on his nephew, Andre Montgomery.

 25. The $200,000.00 accidental death rider would pay out in the event that Andre Montgomery

     died of something other than natural causes.

 26. The $50,000.00 ten-year term rider would pay out in the event that Andre Montgomery

     died within 10 years of the policy's issuance.

 27. On October 31, 2014, JAMES TIMOTHY NORMAN signed the following attestation

    passage in the Foresters life insurance application:

                I, as evidenced by my signature(s) in this Application, declare
                that: 1) I have reviewed this Application. 2) I was asked every
                question that applies to' me and provided the answers shown, in
                this Application, to these questions. 3) The statements, answers,


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                   and representations contained in this Application are full,
                   complete and true, to the best of my knowledge and belief.

  28. On October 31, 2014, WAIEL REBID YAGHNAM signed the following attestation

     passage in JAMES TIMOTHY NORMAN's Foresters life insurance application, stating

     as follows:

                   Unless specifically stated otherwise in the Producer Report, I
                   certify each of the following: a) I am not aware of undisclosed
                   infonnation about the health, habits or lifestyle of the proposed
                   insured or a child, identified in this Application, that might affect
                   insurabilify; b) I personally met with the proposed insured,
                   owner add each child and reviewed the document(s) used to
                   verify identity and birth date; c) I asked the proposed insured,
                   the parent/legal guardian if the proposed insured is a juvenile,
                   and/or the owner each question as written in this Application to
                   which an answer is shown, and recorded the answers as given to
                   me by each person; d) This application was reviewed by each
                   person signing in the Signature Section before it was signed by
                   that person.

 29. JAMES TIMOTHY NORMAN and WAIEL REBID YAGHNAM indicated in the

     Foresters life insurance application that JAMES TIMOTHY NORMAN would be the

     sole beneficiary on the policy in the event of Andre Montgomery's death.

 30. JAMES TIMOTHY NORMAN and WAIEL REBID YAGHNAM represented in the

    Foresters life insurance application that JAMES TIMOTHY NORMAN would pay the

    monthly premium of $185.16 from his US Bank account******** 7746.

 31. On October 31, 2014, JAMES TIMOTHY NORMAN and WAIEL· REBID

    YAGHNAM represented in the Foresters life insurance application that Andre

    Montgomery had an annual income of $28,000.00, despite having represented on October

     14, 2014 that Andre Montgomery had an annual income of $100,000.00 in the Americo

    life insurance application.




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  32. JAMES TIMOTHY NORMAN falsely represented in the Foresters life msurance

     application that Andre Mont~omery had a net worth of $200,000.00.

  33. JAMES TIMOTHY NORMAN falsely indicated in the Foresters life insuranc'e

     application that his relationship to Andre Montgomery was both as his uncle lilld. as his

     employer, when in fact, JAMES TIMOTHY NORMAN had no employment relationship

     with Andre Montgomery.

  34. JAMES TIMOTHY NORMAN falsely indicated in the Foresters life insurance

     application that Andre Montgomery's father was living, 42 years-old, and healthy, when

     in fact, Andre Montgomery's father, the brother of JAMES TIMOTHY NORMAN, had

     died in 1994.

  35. JAMES TIMOTHY NORMAN and WAIEL REBID YAGHNAM falsely represented

     in the Foresters life insurance application that Andre Montgomery had received a "regular

     check-up" from the attending physician at the People's Health Clinic in December of2013.

  36. JAMES TIMOTHY NORMAN and WAIEL REBID YAGHNAM falsely represented

     in the Foresters life insurance application that there was no other life insurance application

     pending for the proposed insured with Foresters or another insurer, when in fact, the

     America life insurance application submitted by JAMES TIMOTHY NORMAN and
                                            '"'-

     W AIEL REBID YAGHNAM was still pending.

  37. On November 6; 2014, Foresters issued a life insurance policy on Andre Montgomery with

     a face amount of$200,000.00, an accidental death rider of $200,000.00 and a ten-year term

     insurance rider of$50,000.00. JAMES TIMOTHYNORMANwas the policy owner and

     sole beneficiary.




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             ROYAL NEIGHBORS LIFE INSURANCE APPLICATION

 38. On March 16, 2015, JAMES TIMOTHY NORMAN and WAIEL REBIDYAGHNAM

    caused to be completed an application to Royal Neighbors of America (hereinafter "Royal

    Neighbors"), by which application JAMES TIMOTHY NORMAN sought a life

    insurance policy in the amount of $249,999.00, as well as an accidental death rider in the

    amount of $249,999.00, on his nephew, Andre Montgomery. ·

 39. The $249 ,999 .00 accidental death rider would pay out in the event that Andre Montgomery

    died of something other than natural causes.

 40. Policies with a face amount or rider amount under $250,000.00 did not require the insured

    to have a physical examination in connection with the policy application.

 41. On March 16, 2015, JAMES TIMOTHY NORMAN signed an acknowledgment on the

    Royal Neighbors life insurance application that "[a]ny person who knowingly presents a

    false statement in an application for insurance may be guilty of a criminal offense and

    subject to penalties under state law."

 42. On March 16, 2015, WAIEL REBID YAGHNAM signed an attestation in the Royal

    Neighbors life insurance application indicating that he had "personally review[e] d the I.D.

    of the Proposed Insured," Andre Montgomery.

 43. JAMES TIMOTHY NORMAN and WAIEL REBID YAGHNAM indicated in the

    Royal Neighbors life insurance application that JAMES TIMOTHY NORMAN would

    be the sole beneficiary on the policy in the event of Andre Montgomery's death.

 44. JAMES TIMOTHY NORMAN and WAIEL REBID YAGHNAM indicated in the

    Royal Neighbors life insurance application that JAMES TIMOTHY NORMAN would

    pay the monthly premium of $187.06 from his US Bank account******** 7746.



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  45. On March 16, 2015, JAMES TIMOTHY NORMAN and WAIELREBID YAGHNAM

     represented in the Royal Neighbors life insurance application that Andre Montgomery had

     an annual income of $50,000.00, despite having represented in the Americo life insurance

     application on October 14, 2014 that Andre Montgomery had an annual income of

     $100,000'.00, and in the Foresters life insuran~e ~pplication on October 31, 2014, that

     Andre Montgomery had an annual income of$28,000.00.

  46. JAMES TIMOTHY NORMAN falsely represented in the Royal Neighbors life insurance

     application that Andre Montgomer.Y, had a net worth of $200,000.00.

 47. JAMES TIMOTHY NORMAN falsely indicated in the Royal Neighbors life insurance

     application that his relationship to Andre Montgomery was both as his uncle. and as his

     employer, when in fact, JAMES TIMOTHY NORMAN had no employment relationship

     with Andre Montgomery.

 48. JAMES TIMOTHY NORMAN and WAIEL REBID YAGHNAM falsely represented

     that Andre Montgomery had received an annual check-up from the attending physician at

     the People's Choice Centers in September of 2014, despite the fact that Andre Montgomery

   · had never been seen or treated at that clinic.

 49. On March 17, 2015, WAIEL REBID YAGHNAM transmitted the life msurance

     application to Royal Neighbors via facsimile.

 50. The Royal Neighbors policy ultimately did not issue.

                 CONSPIRATORS' ATTEMPTS TO COLLECT ON THE
                     FORESTERS LIFE INSURANCE POLICY

 '51. On ·March 18, 2016, following the murder of Andre Montgomery on March 14, 2016,

     WAIEL REBHI YAGHNAM placed two telephone calls to Foresters seeking to file a




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     claiin on the life insurance policy JAMES TIMOTHY NORMAN owned on Andre

    Montgomery.

 52. On March 21, 2016, JAMES TIMOTHY NORMAN contacted Foresters twice by

    telephone seeking to file a claim on, the life insurance policy he had taken out on Andre

    Montgomery.

 53. On March 30, 2016, WAIEL REBID YAGHNAM placed a phone call to Foresters lasting

     IO minutes and two seconds.

 54. -On May 21, 2016, JAMES TIMOTHY NORMAN submitted to Foresters via US mail a

    written claim on his life insurance policy on Andre Montgomery.

 55. On July 6, 2016, JAMES TIMOTHY NORMAN received a letter via US mail from

    Foresters indicating that Foresters still had not received the finalized police, toxicology and

    coroner's reports necessary in order to process his claim on the life insurance policy.

 56. Between August of 2016 and November of 2016, JAMES TIMOTHY NORMAN

    repeatedly contacted Foresters in connection with his attempt to claim the life insurance

    policy.

 57. In or about September of 2018, JAMES TIMOTHY NORMAN retained an attorney to

    represent him in connection with his attempt to claim the Foresters life insurance policy.

    That attorney subsequently sent a letter to Foresters indicating that JAMES TIMOTHY

    NORMAN had authorized the attorney to file a lawsuit for failure to promptly pay the life

    insurance claim.

 58. On September 26, 2019, Foresters sent JAMES TIMOTHY NORMAN a letter via US

    mail advising JAMES TIMOTHY NORMAN that as of the date of the letter, Foresters




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        still had not received all of the documentation required to adjudicate his claim on the life

        insurance policy.

All in violation of Title 18, United Stl:!-tes Code, Section 1349.




                                                       A TRUE BILL.




                                                       FOREPERSON

JEFFREYB. JENSEN (
United States Attorney




ANGIE E. DANIS, #64805MO
GWENDOLYN E. CARROLL, #7657003NY
Assistant United States Attorneys




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